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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

      ORDER REGARDING MATTERS DISCUSSED DURING
      APRIL 26, 2019 TELEPHONIC STATUS CONFERENCE

       On April 26, 2019, the Court held a telephonic status conference.

 The following was decided: first, defendants McLaren Regional Medical

 Center and Hurley Medical Center shall each submit a brief addressing

 (1) whether the cases in which they are named defendants should be

 placed on a separate litigation track within the Flint Water Cases. And

 (2) assuming that these cases are not placed on a separate track, whether

 they should be exempt from the Case Management Order (“CMO”)

 scheduled to be entered on April 30, 2019. Their briefs shall be submitted

 by May 3, 2019, and shall not exceed ten pages. Any party wishing to

 respond may do so by May 10, 2019, with a brief that shall not exceed
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 ten pages. The Court will hear argument on the issues during the

 upcoming status conference on May 15, 2019. (Dkt. 789.) Defendants

 McLaren and Hurley shall be temporarily exempt from the scope of the

 CMO until the Court has ruled on these issues.

       Second, plaintiffs in Walters v. Flint will file a notice to explain

 what differences exist, if any, between the factual allegations contained

 in their proposed amended master long form complaint (Case No. 17-

 10164, Dkt. 185), and the recently adopted fourth amended complaint in

 Carthan v. Snyder. (Case No. 16-10444, Dkt. 798.) Plaintiffs shall do so

 by May 3, 2019. No responses will be permitted. The Court is only

 interested in specific differences between the factual allegations. Any

 legal arguments, conclusions of law, or discussion of the possible

 inferences that could be drawn from the factual allegations will be struck

 as nonconforming.

       IT IS SO ORDERED.

 Dated: April 26, 2019                    s/Judith E. Levy
      Ann Arbor, Michigan                 JUDITH E. LEVY
                                          United States District Judge




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                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on April 26, 2019.

                                          s/Shawna Burns
                                          SHAWNA BURNS
                                          Case Manager




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